Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 1 of 23 PageID: 141




 Scott Levenson, Esq.
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 New York, NY 10019
 Tel: 347-352-2470
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 September 22, 2022

 U.S. District Court
 District of New Jersey
 Judge Cathy L. Waldor

 Re:    KeyBank National Association v. Direct Building Product Corp. et al Case No.:
        2:20-mc-00170-KSH

 Dear Honorable Cathy L. Waldor,

 This firm represents Defendants in the above-referenced matter. This matter is schedule for a
 telephone conference on November 1, 2022. This letter is in response to the Court’s Order dated
 September 21, 2022, that directs Defense to show cause as to why it did not appear for the
 telephone conference scheduled for September 21, 2022.

 My law firm has been experiencing technical difficulties with receiving notices of e-filings. As I
 never received notice of the Order scheduling a telephone conference or any other
 communications relaying the date or time of the telephone conference, I was unaware of it. My
 firm is working diligently to have the technical issue resolved. I am aware of the November 1,
 2022, telephone conference, and absent exigency, my firm will be in attendance and prepared to
 discuss this matter.

 Regarding the outstanding discovery requirements, Defense promptly completed the requested
 interrogatories, and they were delivered to opposing counsel via e-mail promptly on November
 4, 2021. If opposing counsel misplaced them, they may request an additional copy from my
 office, and I will gladly comply.


                                                                     Respectfully,

                                                                     Scott C. Levenson
                                                                     Scott C. Levenson



 CC: Carl Dallarda. Esq., Wong Fleming, P.C., 821 Alexander Rd, Suite 200, Princeton, NJ,
 08540, counsel for Plaintiff
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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 3 of 23 PageID: 143




 Daniel C. Fleming (NJ Bar No. 18631986)
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 dfleming@wongfleming.com
 Attorneys for KeyBank National Association

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                  )
  KEYBANK NATIONAL ASSOCIATION,                   )
                                                  ) Civil Action No. 2:20-mc-00170-KSH
                       Plaintiff,                 )
                                                  ) POST-JUDGMENT
  v.                                              ) INTERROGATORIES
                                                  )
  DIRECT BUILDING PRODUCTS CORP.,                 )
  and YOEL DEEN,                                  )
                                                  )
                       Defendants.                )
                                                  )

 To:    Direct Building Products Corp.
        61 Ramapo Valley Road
        Mahwah, NJ 07430

        PLEASE TAKE NOTICE that, Plaintiff KeyBank National Association (“KeyBank”),

 pursuant to Federal Rule of Civil Procedure 69 and the New Jersey Rules of Civil Procedure 6:7-

 2, hereby demands Defendant Direct Building Products Corp. (“Direct Building”) answer these

 Interrogatories separately and fully in writing, under oath, and serve a copy of the responses within

 fourteen (14) days of service upon Plaintiff’s counsel, Wong Fleming, P.C.


 Dated: November 3, 2020                               WONG FLEMING

                                                       s/ Daniel C. Fleming
                                                       Daniel C. Fleming, Esq.
                                                       Attorneys for Plaintiff
                                                       KeyBank National Association
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 4 of 23 PageID: 144




                             INSTRUCTIONS AND DEFINITIONS

         1.      When answering these Interrogatories, provide all information available to you,
 regardless of whether or not it is actually in your personal possession. This includes, but is not
 limited to, information possessed by your attorneys, agents, employees or representatives.

         2.     Answer each interrogatory in full, unless you have a legal objection to the
 interrogatory or you do not have access to all information necessary to provide a complete answer.

         3.      If you do not have access to all information necessary to provide a complete answer
 to an interrogatory, state that the answer is incomplete, provide the most complete answer that you
 can and state the specific reason(s) you cannot provide a complete answer.

         4.       Answer each interrogatory separately, except where the context of the question
 permits an answer by reference to your answer to another interrogatory, in which case you should
 specifically state which portions of which other answers are included by reference.

         5.     Each response to these Interrogatories should identify which Defendants are and
 are not bound by that response and a separate certification as to the truthfulness of the response by
 each separate defendant should be executed and supplied.

        6.      Each interrogatory constitutes a continuing request for information. If, between the
 time you serve your answers and the time of trial, you or your attorneys obtain additional information
 responsive to any interrogatory, you must provide a supplemental answer to that interrogatory.

        7.      If you have a legal objection to the interrogatory, state the specific reason(s) for
 your objection.

       8.      In the event you wish to assert a legal privilege as to any information requested,
 you must provide a privilege log that does the following:

            a. Identifies the particular matter as to which a privilege is claimed.

            b. States the type of privilege asserted and the factual and legal basis for its assertion.

            c. Identifies the author of the document and who saw, received, was given copies of
               or had access to the information, whether in written or oral form, or any copy or
               summary of the information. You must also supply the name, address and position,
               with any defendant or entity, of that person and the reason that person came into
               contact with the information.

            d. States the subject matter of the information with sufficient detail so that a court
               could determine if a privilege is applicable.


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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 5 of 23 PageID: 145




               e. States the length of the document.

               f. If attorney-client privilege is claimed, identifies who is the attorney and who is the
                  client.

         9.      The terms “describe,” “describe in detail” or “state with particularity” mean to provide
 a complete factual summary. The summary should be in chronological order and describe all the
 facts, persons with knowledge, documents and oral statements and communications that relate to the
 subject matter of the interrogatory.

         10.       The term “You”, “Your” or “Judgment Debtor” refers to Direct Building Products
 Corp.

         11.     The term “document” means any original, earlier draft and any nonidentical copy
 of any writing, drawing, graph, chart, photograph, tape, electronic videotape, film, phonographic
 recording, email, computer software or other data compilation from which information can be
 obtained or which you have knowledge or information of, or which is in your possession, custody
 or control or subject to your right of custody or control. If an original or an “original” nonidentical
 copy of a document is not available, the term “document” also means and includes identical copies
 of such originals and nonidentical copies. Additionally, the term “document” includes information
 stored on magnetic tape, disks, and memory; documents that have been deleted but can be
 recovered from magnetic tape, disks, or memory; documents that have been backed up on magnetic
 tape, disks, or memory; and electronic documents stored off-site.

        12.     The term “identify,” when used with the below listed terms, is a request to provide the
 following information:

               a. Natural persons: State their full name, title and job description if applicable, and their
                  present or last known business and home addresses and telephone numbers.

               b. Documents: State their general nature (e.g., letter, memorandum, report), date,
                  author(s), addressee(s), title, custodian and substance.

               c. Oral statements and communications: State their general nature or medium (e.g., face-
                  to-face conversation, telephone call) date, place, speaker(s), listener(s), and other
                  persons present and describe the content with specificity.

        13.      The terms “person” or “persons” include natural persons, firms, partnerships,
 associations, joint ventures, corporations and other entities.

        14.      The term “bank accounts” include checking accounts, savings accounts, certificates
 of deposit, cash in hand or held by another, or any other type of account containing currency.



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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 6 of 23 PageID: 146




         15.     The term “financial institution,” means any bank; savings and loan association;
 credit union; brokerage firm; discount brokerage firm; insurance company; mortgage company;
 individual investment consultant or financial consultant; or any other sales entity which is engaged
 in the investment buy(s), sale(s) (including short sale of stock), exchange(s), gifts(s) or transfer(s)
 of any security investment governed by the Securities and Exchange Commission -including, but
 not limited to, the sale of stocks, bonds, commodities, futures, penny stocks, mutual funds, unit
 investment trust, limited partnerships, money market accounts, certificates of deposit, checking
 account, interest-bearing checking account, or savings account.

        16.     The terms “or” and “and” also mean “and/or.”

        17.     The term “including” means including, but not by way of limitation.

         18.   The term “relating to” means constituting, comprising, containing, setting forth,
 showing, disclosing, describing, explaining, summarizing, concerning or referring to, directly or
 indirectly.

         19.     The term “all documents” means every document, whether an original, copy or
 draft, as defined above, known to the defendant and every such document which can be located or
 discovered by reasonably diligent efforts.

         20.      The term “possession, custody or control” means possession, custody or control or
 right to possession, custody or control by you, including, as applicable, any of your divisions,
 departments, branches, and other subdivisions, domestic and foreign, subsidiaries, domestic and
 foreign joint ventures, whether or not incorporated, domestic and foreign affiliates, predecessors
 in interest, present and former officials, executives, officers, employees, agents, attorneys, and all
 other persons acting or purporting to act on your behalf, or on behalf of your divisions,
 departments, branches, subdivisions, subsidiaries, joint ventures, affiliates or predecessors in
 interest.




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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 7 of 23 PageID: 147




          INTERROGATORIES AS TO DIRECT BUILDING PRODUCTS CORP.

         1.      Identify the person signing these Interrogatories on behalf of Judgment Debtor, the
 person’s representative capacity and the reason they are authorized to execute these
 interrogatories on Judgment Debtor’s behalf.
 Yoel Deen, Owner, Authorized by self.




         2.     Identify all persons who assisted in the preparation of these answers to
 Interrogatories.
         Yoel Deen




        3.     State the name of business including all trade names.
        Direct Building Products Corp




        4.     State the address of all business locations.
        None at this time. Corporation is inactive.




        5.      If the Judgment Debtor is a limited liability company, identify the name(s) and
 address(es) of all members.
        N/A




         6.    Set forth in detail the name, address and telephone number of all businesses in
 which the principals of the Judgment Debtor now have an interest and set forth the nature of the
 interest.
         None.




                                                 5
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 8 of 23 PageID: 148




         7.    For all bank accounts (checking, savings, or other financial accounts) of the
 Judgment Debtor, list the (a) name of the bank, (b) the bank’s address, (c) the account number,
 (d) the name in which the account is held and (e) the amount in each account. If the Judgment
 Debtor maintains any of these jointly with another person, give that person’s name and address.
 NONE




         8.      SAFETY DEPOSIT BOXES: State whether or not the Judgment Debtor maintains
 any safety deposit boxes. If so, include the name of the institution, branch or branches, and the
 identification number or other designation of the box or boxes. Include a full description of the
 contents and the amount of cash among those contents. If the Judgment Debtor maintains any of
 these jointly with another person, give that person’s full name and address. NONE




         9.     Specifically state the present location of all books and records on the business,
 including checkbooks. Answer: Business has not been in operation for over two years and I do
 not currently know where those books and records might be.




        10.     State the name and address of the person(s) or entity(ies) who prepare, maintain,
 and/or control the business records, checkbooks. Answer: Yoel Deen




          11.     List all physical assets of the business and their location. If any asset is subject to a
 lien, state the name and address of the lienholder and the amount due on the lien.
          At this time the business has no Assets.




                                                     6
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 9 of 23 PageID: 149




         12.     REAL ESTATE: Does the Judgment Debtor have an ownership interest in any real
 estate anywhere in the United States? If so, set forth a brief description thereof. Include the
 structure and lot size and type of construction; the location, including the state, county, and
 municipality; the volume and page number of the official record thereof; and state whether the
 Judgment Debtor owns it solely or together with any other person or persons and give their full
 names and addresses. Supply the current value of the properties and the basis for the valuation
 (estimate, tax assessment, appraisal, etc.). If any of the above properties are mortgaged, supply the
 names and addresses of the lenders, the date and amount of the mortgage, where it is recorded, the
 monthly payments, and the balance now due. Also, supply the purchase date, purchase price, and
 the name of the party from whom the property was purchased. Answer: NO




         13.     TRANSFERS OF REAL ESTATE: In the six years preceding the date of these
 Interrogatories, has the Judgment Debtor transferred any real property either by sale, gift,
 exchange, or otherwise? If so, please give a description of the property so transferred, the method
 or manner of transfer, the name of the person, firm, or other entity to whom transferred, the
 consideration or amount received by the Judgment Debtor, and the time and place of the transfer.
 NO




         14.     TRANSFERRED ASSETS AND GIFTS: If, in the preceding six years, the
 Judgment Debtor has transferred any assets (real property, personal property, chose in action), not
 covered by the previous interrogatory, to any person, and/or, if the Judgment Debtor has given
 any gift valued at more than $250.00, of any asset, including money, to any person, set forth, in
 detail, a description of the property, the type of transaction, and the name and address of the
 transferee or recipient. Answer: NO




         15.     AGREEMENTS: State whether the Judgment Debtor has any agreements
 involving the purchase of any real estate anywhere in the United States. If so, state with whom
 this agreement is made, and state whether or not any persons are joined with the Judgment Debtor
 in the agreement. Supply full names and addresses of all parties concerned. If the agreement
 is recorded, provide the state and county of recordation, with volume and page numbers.
         NO

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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 10 of 23 PageID: 150




          16.    ACCOUNTS RECEIVABLE, DEBTS, NOTES, & JUDGMENTS: State the
  names and addresses of any and all persons whom the Judgment Debtor believes owes the
  Judgment Debtor money, and set forth in detail the amount of money owed, the terms of payment,
  and whether or not the Judgment Debtor has written evidence of this indebtedness, and if so, the
  location thereof. Also, state whether the matter is in litigation, and if so, give full details. If the
  Judgment Debtor holds mortgages or judgments as security for any of these debts, state where and
  when such was recorded or entered, and the county, book, page number, and term where recorded.
  If the Judgment Debtor holds this judgment or mortgage jointly with any other person or persons,
  give their name and address. Answer: None at this time.




           17.     INSURANCE: State whether or not the Judgment Debtor is the owner of any life
  insurance contracts. If so, state the persons whose lives are insured, the serial or policy number or
  numbers of the contracts, the face amount, the exact name and address of the insurance companies,
  the named beneficiary or beneficiaries, and the beneficiary's present address. If the Judgment
  Debtor owns this insurance jointly with any other person or persons, give that person's name and
  address. State whether such policies are term, whole life, or some other type of policy. State also
  whether such policies have any cash value and whether there exist any loans against such policies
  and, if so, state all amounts. NO




          18.    GOVERNMENT, MUNICIPAL, OR CORPORATE BONDS: State whether or
  not the Judgment Debtor owns individually or jointly any corporate or governmental bonds. If so,
  include the face amount, serial numbers, and maturity dates and state the present location thereof.
  If the Judgment Debtor owns any of these bonds jointly with any other person or persons, give
  that person’s name and address. NONE




          19.     HARES OR INTEREST: State whether or not the Judgment Debtor owns any
  stocks, shares, or interest in any corporation or unincorporated association or partnership interest,
  limited or general, and state the location thereof. Include the names and addresses of the
  organizations and the serial numbers of the shares or stocks. If the Judgment Debtor owns any of
  the stocks, shares, or interest jointly with any other person or persons, give that person’s name
  and address. Answer: None that Judgment Debtor is aware of.


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Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 11 of 23 PageID: 151




          20.     PERSONAL PROPERTY: State whether or not the Judgment Debtor owns any
  personal property. Include a full description of all machinery, equipment, inventory, furniture,
  fixtures, furnishings, and any other items of personal property with full description, giving full
  value and present location. State also whether or not there are any encumbrances or liens on that
  property and, if so, the name and address of the encumbrance or lien holder, the present balance
  owing on that encumbrance, and the transaction that gave rise to the existence of the encumbrance.
  State where and when the encumbrance or lien was recorded. If the Judgment Debtor owns any
  personal property jointly with any other person or persons, give that person’s name and address.
  None.




          21.    RENTED PROPERTY: Is any of the property of the Judgment Debtor rented to,
  leased to, or otherwise in possession of a third person? If so, give a full description of the
  property and state the name and address of the person, firm, or other entity who has
  possession of the property, the circumstances and reason why the property is in the possession of
  the third person, the consideration or payment received by the Judgment Debtor, and the name
  and address of the person who receives the rents or other consideration on behalf of the Judgment
  Debtor. Answer: NO




          22.     MOTOR VEHICLES: State whether or not the Judgment Debtor owns or has
  any rights in any motor vehicles. Include a full description of each motor vehicle including
  color, model, title number, serial number, and registration plate number. Also, show the name or
  names in which each motor vehicle is registered, the present value of each motor vehicle,
  and each vehicle’s present location and place of regular storage, garaging, or parking. State also
  whether or not there are any encumbrances on those motor vehicles and, if so, the name and
  address of the encumbrance holder, the date of the encumbrance, the original amount of that
  encumbrance, the present balance of the encumbrance, and the transaction that gave rise to
  the existence of the encumbrance. If not owned, state the extent of the Judgment Debtor’s
  rights in and to such vehicles. All vehicles had liens which are subject to lawsuits and
  repossession. Key Bank is aware of its own suit. Eastern Funding and Toyota summons and
  complaint are attached.

                                                  9
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 12 of 23 PageID: 152




          23.     If the Judgment Debtor is an entity, state the Judgment Debtor’s federal tax
  identification number and date of creation. EIN: XX-XXXXXXX - Date Created Unknown




          24.     STRUCTURE AND RELATIONSHIPS: State the name, title and home address
  of each of Judgment Debtor’s trustees, as well as any beneficiaries holding an interest in any
  property owned by Judgment Debtor. If the Judgment Debtor has an ownership interest,
  possession, or any other interest in any business entities that are not disclosed in the preceding
  interrogatories, please set forth all details concerning those interests.
  No Trustees, No Ownership Interest.




         25.    If the business is alleged to be no longer active, set forth:
                a. The date of cessation;
                b. All assets as of the date of cessation;
                c. The present location of those assets;
                d. If the assets were sold or transferred, set forth:
                          i. The nature of the assets;
                         ii. Date of transfer;
                        iii. Name and address of the person(s) or entity(ies) to whom the assets
                             were transferred;
                        iv. The consideration paid for the assets and the form in which it was paid.
                         v. Explain in detail what happened to the consideration paid for the assets:
                             Cessation: Around June of 2019. No Assets.




          26.     Set forth all other judgments that You are aware of that have been entered against
  You and include: (a) creditor’s name; (b) creditor’s attorney; (c) amount due; (d) name of court;
  and (e) court docket number.
          Please see list of lawsuits attached.




                                                 10
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 13 of 23 PageID: 153




           27.     For all litigation in which MSS Enterprises is presently involved, state: (a) date
  litigation commenced; (b) name of party who started the litigation; (c) nature of the action; (d)
  names of all parties, and the names, addresses, and telephone numbers of their attorneys; (e) trial
  date, if any; (f) status of case; and (g) name of court and docket number.
           Please see list of lawsuits and copy and paste links in your search engine. All of these
  details will be contained therein.




         28.     OTHER ASSETS: If the Judgment Debtor has an ownership interest, possession,
  or any other interest in any assets, claims, or accounts receivables that are not disclosed in the
  preceding interrogatories, please set forth all details concerning those interests.
         None.




          29.     RELATED DOCUMENTS: To the extent that your answers to any of the above
  interrogatories depend in whole or in part on documents, account records, other papers, or
  electronic data, describe each in exact detail (or attach a copy of the same).
          Attached.
  Return to:      WONG FLEMING, P.C.
                  Daniel C. Fleming, Esq.
                  821 Alexander Road, Suite 200
                  Princeton, New Jersey 08540
                  Tel: (609) 951-9520
                  Fax: (609) 951-0270
                  dfleming@wongfleming.com



                                         CERTIFICATION

            Yoel Deen
         I, ________________________________,        certify that the facts set forth in the foregoing
  statements made by me are true and correct to the best of my knowledge, information and belief.
  I am aware that if any of the foregoing statements made by me are willfully false, I am subject to
  punishment


                                                ________________________________
                                                Signature

        10/25/2021
  Date: ______________________


                                                  11
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 14 of 23 PageID: 154




  Daniel C. Fleming (NJ Bar No. 18631986)
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  Princeton, New Jersey 08540
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  dfleming@wongfleming.com
  Attorneys for KeyBank National Association

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                 )
   KEYBANK NATIONAL ASSOCIATION,                 )
                                                 ) Civil Action No. 2:20-mc-00170-KSH
                       Plaintiff,                )
                                                 ) POST-JUDGMENT
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                                                 )
   DIRECT BUILDING PRODUCTS CORP.,               )
   and YOEL DEEN,                                )
                                                 )
                       Defendants.               )
                                                 )

  To:    Yoel Deen
         6 Nancy Lane
         Spring Valley, NY 10977

         PLEASE TAKE NOTICE that, Plaintiff KeyBank National Association (“KeyBank”),

  pursuant to Federal Rule of Civil Procedure 69 and the New Jersey Rules of Civil Procedure 6:7-

  2, hereby demands Defendant Yoel Deen (“Mr. Deen”) answer these Interrogatories separately

  and fully in writing, under oath, and serve a copy of the responses within fourteen (14) days of

  service upon Plaintiff’s counsel, Wong Fleming, P.C.


  Dated: October 28, 2020                            WONG FLEMING

                                                     s/ Daniel C. Fleming
                                                     Daniel C. Fleming, Esq.
                                                     Attorneys for Plaintiff
                                                     KeyBank National Association
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 15 of 23 PageID: 155




                              INSTRUCTIONS AND DEFINITIONS

          1.      When answering these Interrogatories, provide all information available to you,
  regardless of whether or not it is actually in your personal possession. This includes, but is not
  limited to, information possessed by your attorneys, agents, employees or representatives.

          2.     Answer each interrogatory in full, unless you have a legal objection to the
  interrogatory or you do not have access to all information necessary to provide a complete answer.

          3.      If you do not have access to all information necessary to provide a complete answer
  to an interrogatory, state that the answer is incomplete, provide the most complete answer that you
  can and state the specific reason(s) you cannot provide a complete answer.

          4.       Answer each interrogatory separately, except where the context of the question
  permits an answer by reference to your answer to another interrogatory, in which case you should
  specifically state which portions of which other answers are included by reference.

          5.     Each response to these Interrogatories should identify which Defendants are and
  are not bound by that response and a separate certification as to the truthfulness of the response by
  each separate defendant should be executed and supplied.

         6.      Each interrogatory constitutes a continuing request for information. If, between the
  time you serve your answers and the time of trial, you or your attorneys obtain additional information
  responsive to any interrogatory, you must provide a supplemental answer to that interrogatory.

         7.      If you have a legal objection to the interrogatory, state the specific reason(s) for
  your objection.

        8.      In the event you wish to assert a legal privilege as to any information requested,
  you must provide a privilege log that does the following:

             a. Identifies the particular matter as to which a privilege is claimed.

             b. States the type of privilege asserted and the factual and legal basis for its assertion.

             c. Identifies the author of the document and who saw, received, was given copies of
                or had access to the information, whether in written or oral form, or any copy or
                summary of the information. You must also supply the name, address and position,
                with any defendant or entity, of that person and the reason that person came into
                contact with the information.

             d. States the subject matter of the information with sufficient detail so that a court
                could determine if a privilege is applicable.


                                                    2
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 16 of 23 PageID: 156




               e. States the length of the document.

               f. If attorney-client privilege is claimed, identifies who is the attorney and who is the
                  client.

          9.      The terms “describe,” “describe in detail” or “state with particularity” mean to provide
  a complete factual summary. The summary should be in chronological order and describe all the
  facts, persons with knowledge, documents and oral statements and communications that relate to the
  subject matter of the interrogatory.

         10.       The term “You”, “Your” or “Judgment Debtor” refers to Yoel Deen.

          11.     The term “document” means any original, earlier draft and any nonidentical copy
  of any writing, drawing, graph, chart, photograph, tape, electronic videotape, film, phonographic
  recording, email, computer software or other data compilation from which information can be
  obtained or which you have knowledge or information of, or which is in your possession, custody
  or control or subject to your right of custody or control. If an original or an “original” nonidentical
  copy of a document is not available, the term “document” also means and includes identical copies
  of such originals and nonidentical copies. Additionally, the term “document” includes information
  stored on magnetic tape, disks, and memory; documents that have been deleted but can be
  recovered from magnetic tape, disks, or memory; documents that have been backed up on magnetic
  tape, disks, or memory; and electronic documents stored off-site.

         12.     The term “identify,” when used with the below listed terms, is a request to provide the
  following information:

               a. Natural persons: State their full name, title and job description if applicable, and their
                  present or last known business and home addresses and telephone numbers.

               b. Documents: State their general nature (e.g., letter, memorandum, report), date,
                  author(s), addressee(s), title, custodian and substance.

               c. Oral statements and communications: State their general nature or medium (e.g., face-
                  to-face conversation, telephone call) date, place, speaker(s), listener(s), and other
                  persons present and describe the content with specificity.

         13.      The terms “person” or “persons” include natural persons, firms, partnerships,
  associations, joint ventures, corporations and other entities.

         14.      The term “bank accounts” include checking accounts, savings accounts, certificates
  of deposit, cash in hand or held by another, or any other type of account containing currency.




                                                      3
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 17 of 23 PageID: 157




          15.     The term “financial institution,” means any bank; savings and loan association;
  credit union; brokerage firm; discount brokerage firm; insurance company; mortgage company;
  individual investment consultant or financial consultant; or any other sales entity which is engaged
  in the investment buy(s), sale(s) (including short sale of stock), exchange(s), gifts(s) or transfer(s)
  of any security investment governed by the Securities and Exchange Commission -including, but
  not limited to, the sale of stocks, bonds, commodities, futures, penny stocks, mutual funds, unit
  investment trust, limited partnerships, money market accounts, certificates of deposit, checking
  account, interest-bearing checking account, or savings account.

         16.     The terms “or” and “and” also mean “and/or.”

         17.     The term “including” means including, but not by way of limitation.

          18.   The term “relating to” means constituting, comprising, containing, setting forth,
  showing, disclosing, describing, explaining, summarizing, concerning or referring to, directly or
  indirectly.

          19.     The term “all documents” means every document, whether an original, copy or
  draft, as defined above, known to the defendant and every such document which can be located or
  discovered by reasonably diligent efforts.

          20.      The term “possession, custody or control” means possession, custody or control or
  right to possession, custody or control by you, including, as applicable, any of your divisions,
  departments, branches, and other subdivisions, domestic and foreign, subsidiaries, domestic and
  foreign joint ventures, whether or not incorporated, domestic and foreign affiliates, predecessors
  in interest, present and former officials, executives, officers, employees, agents, attorneys, and all
  other persons acting or purporting to act on your behalf, or on behalf of your divisions,
  departments, branches, subdivisions, subsidiaries, joint ventures, affiliates or predecessors in
  interest.




                                                    4
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 18 of 23 PageID: 158




                         INTERROGATORIES AS TO YOEL DEEN

          1.    State your full name, home address, telephone number, date of birth, and social
  security number.
          Yoel Deen, 4 Louis Lane, Monsey NY 10952
          8454262688 5/26/1980 XXX-XX-XXXX



         2.     State your driver’s license number, state in which issued, and its expiration date.

         905491114



         3.     Are you currently employed? If so, for each employer, state the following:
                a. Full name, address, and telephone number of your employer;
                b. Your weekly salary, both gross and net;
                c. Whether there is currently a wage execution on your salary.

                   GrowBiz Consulting, Inc.
                   $230.87/wk
                   No

        4.     If you are not presently employed, state the full name, address, and telephone
  number of your last employer, and your last weekly salary, both gross and net.

         n/a



         5.     Do you own or operate a business? If so, for each business, state the following:
                a. Name and address of the business;
                b. Whether the business is a corporation, sole proprietorship, or partnership;
                c. The name and address of all stockholders, officers and/or partners;
                d. The amount of income received by you from the business during the last twelve
                   months.

                   No




                                                  5
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 19 of 23 PageID: 159




         6.     For each bank account, retirement account, trust fund, brokerage account, credit
 card account, merchant account, or other financial account on which your name appears, or that you
 otherwise have access to, state the following:
                a. Name, branch, and address of bank (or other financial institution) where
                    located;
                b. Account number;
                c. Current balance;
                d. Name and address of all other persons having access.

                    Approx 7-10 credit cards through different banks primarily through chase,
                    weels fargo, citi, capital one.


         7.     List all safe deposit boxes to which you have access, including:
                a. Name, branch, and address of bank (or other financial institution) where
                    located;
                b. Box number;
                c. Description of contents;
                d. Name and address of all other persons having access.

                    None



         8.     If you receive money from any of the following sources, list the amount, how often,
  and the name and address of the source:
                a. Alimony;
                b. Loan payments;
                c. Rental income;
                d. Pensions;
                e. Bank interest;
                f. Annuities;
                g. Stock dividends;
                h. Other.

                    NONE




                                                 6
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 20 of 23 PageID: 160




         9.      If you receive money from any of the following sources, state the amount you
  receive per month, and attach copies of the three most recent bank statements for each bank
  account that contains funds from these sources.
                 a. Social Security benefits;
                 b. S.S.I. benefits;
                 c. Welfare benefits;
                 d. V.A. benefits;
                 e. Unemployment benefits;
                 f. Workers’ compensation benefits;
                 g. Child support payments.

                   NONE



         10.   Do you own the property where you reside? If so, state the
               following:
               a. Name of the owner or owners;
               b. Date property was purchased;
               c. Purchase price;
               d. Assessed value;
               e. Market value;
               f. Name and address of mortgage holder(s);
               g. Balance due on mortgage.

                   NONE


         11.    Do you own any other real estate? If so, state the following for each
                property:
                a. Address of property;
                b. Date property was purchased;
                c. Purchase price;
                d. Assessed value;
                e. Market value;
                f. Name and address of all owners;
                g. Name and address of mortgage holder;
                h. Balance due on mortgage;
                i. For each tenant: name, address, and monthly rental paid.


                   NONE




                                                 7
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 21 of 23 PageID: 161




         12.   Do you own a motor vehicle? If so, state the following for each vehicle owned:
               a. Make, model and year;
               b. If there is a lien on the vehicle, state the name and address of the lienholder;
                       i. Amount due on lien
               c. License plate numbers;
               d. Vehicle identification number.
                  A. Toyota Highlander 2019
                  B. Toyota Financial
                  C. Plate: JNR - 1900
                  D. VIN:5tdjzrfh8ks615858

         13.   Set forth all other judgments that have been entered against you, including
  following:   the
               a. The creditor’s name;
               b. The creditor’s attorney;
               c. The amount due;
               d. The name of the court;
               e. The docket number(s).
                   Please see attached
                   Judgments



         14.     For all pending lawsuits in which you and/or any business owned by you are
  presently involved, whether as a plaintiff or defendant, state:
                 a. Title and docket number of lawsuit(s);
                 b. Name of the court;
                 c. Date lawsuit was filed;
                 d. Name of party who started the lawsuit;
                 e. Nature and description of the lawsuit and underlying dispute;
                 f. Name, address, and telephone number of all parties and attorneys;
                 g. Trial date, if set;
                 h. Current status of case.
                    Please copy and paste the following links:
                    https://rb.gy/mdkkrc
                    https://rb.gy/5t4ebd
                    https://rb.gy/wf0jbx

         15.   Do you hold any liens against property? If so, for each lien, state the following:
               a. The nature of each such lien;
               b. The full description of the property affected by the lien;
               c. The location and identity of the office of the filing or recording and full
                  indexing information.

                   NONE



                                                 8
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 22 of 23 PageID: 162




          16.     Are any of your assets subject to liens, attachments or other encumbrances? If so,
  state the following:
                  a. The nature of each such lien;
                  b. The full description of the asset and/or property affected by the lien;
                  c. The location and identity of the office of the filing or recording and full
                     indexing information.
                     MY vehicle is subject to the toyota lien and judgments contained in links
                     above.



          17.    In the six years preceding the date of these Interrogatories, have you transferred
  any real property either by sale, gift, exchange, or otherwise? If so, please give a description of the
  property so transferred, the method or manner of transfer, the name of the person, firm, or other
  entity to whom transferred, the consideration or amount received, and the time and place of the
  transfer.
          Yes. 6 Nancy Lane, Suffern NY transferred Property to Nancy Lane LLC with all
  encumbrances on 05/07/2019 via deed, in consideration for representation on all legal matters
  stemming from Direct Buildings which currently amount to over $170k in legal fees.


          18.     If, in the preceding six years, you have transferred any assets (real property,
  personal property, chose in action), not covered by the previous interrogatory, to any person,
  and/or, if you have given any gift valued at more than $250.00, of any asset, including money, to
  any person, set forth, in detail, a description of the property, the type of transaction, and the name
  and address of the transferee or recipient.      NONE




          19.     State whether or not you are the owner of any life insurance contracts. If so, state
  the persons whose lives are insured, the serial or policy number or numbers of the contracts, the
  face amount, the exact name and address of the insurance companies, the named beneficiary or
  beneficiaries, and the beneficiary's present address. If you own this insurance jointly with any other
  person or persons, give that person's name and address. State whether such policies are term,
  whole life, or some other type of policy. State also whether such policies have any cash value and
  whether there exist any loans against such policies and, if so, state all amounts.

  Gaurdian Term Policy - Yoel Deen Insured. Death Benefit: $1M. Policy Face Sheet attached.
  Beneficiaries: Chaya Deen Rochel Deen Chana Deen Dovid Deen Simcha Deen




                                                    9
Case 2:20-mc-00170-KSH-CLW Document 27 Filed 09/23/22 Page 23 of 23 PageID: 163




          20.     State whether or not you own, individually or jointly, any corporate or
  governmental bonds. If so, include the face amount, serial numbers, and maturity dates and state
  the present location thereof. If you own any of these bonds jointly with any other person or persons,
  give that person’s name and address.
          NONE



          21.     To the extent that your answers to any of the above interrogatories depend in whole
  or in part on documents, account records, other papers, or electronic data, describe each in exact
  detail (or attach a copy of the same).
  In previous responses we attached links to open cases against the Deens. The purpose of this is to
  allow you to see the nature of any of the cases as filed - public records. Accuracy.




  Return to:     WONG FLEMING, P.C.
                 Daniel C. Fleming, Esq.
                 821 Alexander Road, Suite 200
                 Princeton, New Jersey 08540
                 Tel: (609) 951-9520
                 Fax: (609) 951-0270
                 dfleming@wongfleming.com



                                         CERTIFICATION
            Yoel Deen
         I, ________________________________,        certify that the facts set forth in the foregoing
  statements made by me are true and correct to the best of my knowledge, information and belief.
  I am aware that if any of the foregoing statements made by me are willfully false, I am subject to
  punishment


                                                ________________________________
                                                Signature
        10/29/21
  Date: ______________________




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